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                                        BORROWING NOTICE

                                            February 22, 2019

MTE Holdings LLC, a Delaware limited liability company (the “Company”), pursuant to
Section 2.3 of the Term Loan Credit Agreement dated as of September 17, 2018 (together with all
amendments, restatements, supplements or other modifications thereto, the “Credit Agreement”;
and, unless otherwise defined herein, each capitalized term used herein shall have the meaning
specified in the Credit Agreement), by and among the Company, the Lenders from time to time
party thereto and Riverstone Credit Management, LLC, as administrative agent and collateral
agent for the Lenders (in such capacity, the “Administrative Agent”), hereby notifies the
Administrative Agent that the Company requests a Borrowing as follows:

           (a)    Aggregate principal amount of Borrowing requested: $40,000,000.00.

           (b)    Date the Borrowing is to be made: February 27, 2019.

Attached to this Borrowing Notice is Annex A setting out the use of the proceeds of the Closing
Date Loans in accordance with Section 2.4 of the Credit Agreement.

All capitalized terms not otherwise defined herein shall have the meanings specified in the Credit
Agreement.

The undersigned certifies that he/she is the Authorized Signatory of the Company, and that as such
he/she is authorized to execute this Borrowing Notice on behalf of the Company. The undersigned
further certifies, represents and warrants on behalf of the Company, in such undersigned’s capacity
as the Authorized Signatory of the Company and not in such undersigned’s individual capacity,
that (upon and subject to receipt of the Limited Waiver and First Amendment to Term Loan Credit
Agreement effective on or about the date hereof among the Company, the Lenders party thereto
and the Administrative Agent):

1.         All conditions precedent to the making of the Loans pursuant to this Borrowing Notice
           have been met.

2.         As of the date of this Borrowing Notice, each representation and warranty of the Company
           set forth in the Credit Agreement (excluding any representations and warranties that
           expressly refer to a different date) is true and correct in all material respects (except that
           such materiality qualifier shall not be applicable to any representations and warranties that
           already are qualified or modified by materiality in the text thereof).

3.         The Company shall be in pro forma compliance with Section 6.7 of the Credit Agreement
           upon the making of the Loans contemplated by this Borrowing Notice.

4.         As of the date of this Borrowing Notice, no Default or Event of Default has occurred and
           is continuing.

5.         The Lenders have received monthly projections for a period including the date hereof
           through a date at least twenty-four (24) months after the date hereof.



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6.     Since December 31, 2017, no event, circumstance or change has occurred that has caused
       or could reasonably be expected to result in, either individually or in the aggregate, a
       Material Adverse Effect.

7.     Both immediately before and after giving effect to the making of the Loans requested
       pursuant to this Borrowing Notice, the Company is Solvent.

8.     The proceeds of any funds requested pursuant to this Borrowing Notice will only be used
       in strict accordance with the Credit Agreement, including Section 2.4 thereof.

After applying the proceeds of the Loans requested pursuant to this Borrowing Notice in
accordance with Annex A attached hereto, please wire the balance of the proceeds to the following
account, which account is a Deposit Account, which is subject to a Control Agreement:

       Bank Name: The Bank of New York Mellon
       ABA Number: 021000018
       Account Number: 2775888400
       Account Name: MTE Capital Reserve Account
       Reference: MTE Holdings LLC




                                   [Signature Page Follows]
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                                               Annex A
                                 Application of Proceeds of Borrowing

Name of Payee         Amount               Payee Account/instructions for      Description/use
                                           payment

CPPIB Credit          $862,500             To be netted off the Borrowing by   Amendment Fee
Investments III                            Riverstone Credit Partners LLC
Inc.

Centaurus Capital     $727,500             To be netted off the Borrowing by   Amendment Fee
LP                                         Riverstone Credit Partners LLC

AG Energy             $637,500             To be netted off the Borrowing by   Amendment Fee
Funding, LLC                               Riverstone Credit Partners LLC

VP Rattlesnake        $562,500             To be netted off the Borrowing by   Amendment Fee
LLC                                        Riverstone Credit Partners LLC

Riverstone Credit     $423,750             To be netted off the Borrowing by   Amendment Fee
Partners II Direct,                        Riverstone Credit Partners LLC
LP

Melody Business       $187,500             To be netted off the Borrowing by   Amendment Fee
Finance, LLC                               Riverstone Credit Partners LLC

Riverstone Credit     $127,500             To be netted off the Borrowing by   Amendment Fee
Partners I Direct,                         Riverstone Credit Partners LLC
LP

Fenwood Road          $15,000              To be netted off the Borrowing by   Amendment Fee
Capital Partners,                          Riverstone Credit Partners LLC
LP

Riverstone            $11,250              To be netted off the Borrowing by   Amendment Fee
Strategic Credit                           Riverstone Credit Partners LLC
Partners A-1 AIV,
L.P.

New Jutland           $7,500               To be netted off the Borrowing by   Amendment Fee
Partners, LP                               Riverstone Credit Partners LLC
